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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP, et al.                       *
                                              *
               Plaintiffs,                    *
                                              *
       v.                                     *       Civil Action No.: 1:19-cv-01136-APM
                                              *
COMMITTEE ON OVERSIGHT AND                    *
REFORM OF THE U.S. HOUSE OF                   *
REPRESENTATIVES, et al.                       *
                                              *
               Defendants.                    *
                                              *
       *       *       *       *      *       *       *       *      *       *       *       *

                                             ORDER

       THIS MATTER COMES before the Court on the request of the parties that the court retain

jurisdiction over the settlement. In this case, plaintiffs, Donald J. Trump, The Trump Organization,

Inc., Trump Organization LLC, The Trump Corporation, DJT Holdings LLC, The Donald J.

Trump Revocable Trust, Trump Old Post Office LLC (“the Trump Entities”) have sued Mazars

and Intervenor-Defendant Committee on Oversight and Reform for declaratory and injunctive

relief in connection with a congressional subpoena to Mazars. The Parties agree that the case has

been settled and that the Stipulated Agreement fully and finally resolves the claims in this lawsuit.

       Upon consideration of the submission(s) of the Parties, the Court finds that dismissal is

proper under Rule 41(a)(2) of the Federal Rules of Civil Procedure and that it is appropriate to

retain jurisdiction to enforce the settlement agreement entered into among the parties. See

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 381 (1994); United States v.

Franklin-Mason, 742 F.3d 1051, 1055, 408 U.S. App. D.C. 319 (D.C. Cir. 2014) (“The [Kokkonen]

Court indicated     in dicta that a federal district court retains jurisdiction to enforce

a settlement agreement if it either incorporates the settlement agreement into the dismissal order or

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specifically includes a clause in the dismissal order retaining jurisdiction.”) (citations omitted);

DC Soccer, LLC v. CapX Off. Sols., LLC., No. 19-cv-3163 (BAH), 2021 WL 1061206, at *3

(D.D.C. Mar. 18, 2021) (“The principle underlying Kokkonen is that a district court lacks ancillary

jurisdiction to enforce a settlement agreement in a dismissed case when the district court fails to

incorporate the settlement terms into the dismissal order or otherwise expressly retain jurisdiction

to enforce the settlement agreement.”). See also T Street Dev., LLC v. Dereje & Dereje, 586 F.3d

6, 11 (D.C. Cir. 2009).

        Accordingly, in view of the fact that Plaintiffs, Defendant, and Intervenor Defendant have

entered into a Stipulated Agreement that is a full and final resolution of all of Plaintiffs’ claims

against all Defendants in this action, it is this ____ day of _______________, 2022,

        ORDERED: that the Stipulated Agreement entered among the Parties is attached hereto

as Exhibit A, and is incorporated by reference; and it is

        FURTHER ORDERED: that this Court has jurisdiction over the subject matter of this

litigation and over the Parties to the Stipulated Agreement, and that the Court shall retain

jurisdiction for the purposes of enforcing the terms of the settlement agreement and for the

punishment of violations of any of its provisions; and it is

        FURTHER ORDERED: that the Stipulated Agreement shall be and is entered as an Order

of the Court; and it is

        FURTHER ORDERED: that the Complaint is conditionally dismissed without prejudice

pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, subject to the terms set forth in

this Order, which the Court considers proper, just, and necessary; and it is




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       FURTHER ORDERED: that the Parties shall file a motion for entry of dismissal with

prejudice and termination of the case upon fulfillment of all of the terms of the Stipulated

Agreement; and it is

       FURTHER ORDERED: that this civil action be placed on the inactive docket subject to

further order of the Court.

       SO ORDERED.



Dated: _____________               ____________________________________________
                                   Amit P. Mehta United States District Judge




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                    Exhibit A
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                           STIPULATED AGREEMENT

The United States House of Representatives Committee on Oversight and Reform and
its agents (“the Committee”); Donald J. Trump, Donald J. Trump Revocable Trust, the
Trump Organization Inc., the Trump Organization LLC, the Trump Corporation, DJT
Holdings LLC, the Trump Old Post Office LLC, the Trump Foundation together with
their agents, subsidiaries and affiliates (“Plaintiffs”); and Mazars USA LLP (“Mazars”)
(the Committee, Plaintiffs and Mazars, collectively, the “Parties”), hereby enter into the
following stipulation regarding the decision of the United States Court of Appeals for
the D.C. Circuit in Trump v. Mazars, Case No. 21-5176, issued on July 8, 2022 (“the
Panel Opinion”) with respect to the subpoena with an original return date of April 29,
2019, issued by the Committee to Mazars (as modified by the Panel Opinion, the
“Narrowed Subpoena”);

   I.      Mazars shall produce only those documents responsive to the Narrowed
           Subpoena as described in the Panel Opinion and Section VI herein. Mazars
           shall produce all documents responsive to the Narrowed Subpoena to the
           Committee as expeditiously as possible. Within one week of this Stipulated
           Agreement, Mazars shall meet and confer with the Committee to provide a
           timeline for production of all documents responsive to the Narrowed
           Subpoena. Mazars shall notify both Parties when its production is complete.

   II.     Mazars and its counsel shall exercise their independent judgment in
           determining whether documents in its possession fall within the scope of
           the Narrowed Subpoena.

           a. To the extent Mazars concludes additional information from either the
              Plaintiffs or the Committee is necessary to reaching a determination as
              to whether specific documents or information fall within the scope of
              the Narrowed Subpoena, Mazars shall advise both counsel for Plaintiffs
              and counsel for the Committee that it is requesting such additional
              information.

           b. The notice referenced in (a) shall include: (1) a brief description of the
              documents or information at issue; (2) the category or categories in the
              Narrowed Subpoena that Mazars believes might apply to the documents
              or information at issue; and (3) a brief description of the additional
              information sought and how it would help Mazars to determine whether
              the documents or information at issue fall within the scope of the
              Narrowed Subpoena. To the extent either counsel for Plaintiffs or the
              Committee provide additional written information to Mazars in response

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            to this request without copying the other Party, they shall promptly share
            that additional information with the other party.


         c. Mazars will provide notice of its determination to counsel for Plaintiffs
            and counsel for the Committee with regard to any document or
            information as to which Mazars requests additional information, as
            described in (a).

         d. To the extent the Committee or the Plaintiffs have additional
            information that would allow Mazars to assess and identify information
            that falls within the Narrowed Subpoena, each may identify or provide
            records to assist Mazars in complying with the Narrowed Subpoena,
            with a copy to counsel for the other party.

         e. Notwithstanding (a)-(d) above, if at any point Mazars determines a
            document or information falls within the scope of the Narrowed
            Subpoena, Mazars shall produce the document or information without
            delay.

III.     The Committee shall not serve any additional subpoena to Mazars seeking
         additional documents regarding Plaintiffs related to the facts under
         investigation in this matter before January 3, 2023, and Mazars shall notify
         Plaintiffs immediately if any such subpoena is subsequently served.

IV.      Plaintiffs shall not take any steps to unduly delay the production of
         responsive documents by Mazars; shall not require Mazars to submit
         documents to them prior to disclosure; and shall not require Mazars to
         classify a document as non-responsive.

V.       Neither party shall further appeal the Panel Opinion. Plaintiffs and the
         Committee agree not to seek to stay the mandate, and Plaintiffs agree to
         withdraw their Petition for Rehearing and Rehearing En Banc, filed August
         22, 2022, within two days of this Stipulated Agreement. All parties agree to
         work in good faith to facilitate the production of all documents responsive
         to the Narrowed Subpoena to the Committee as expeditiously as possible,
         in accordance with the terms of this Stipulated Agreement, provided that
         nothing in this paragraph shall prevent a party from enforcing the Panel
         Opinion.




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VI.     With respect to each request in the Narrowed Subpoena, the Committee
        and Plaintiffs have agreed to (and Mazars agrees to abide by) the following
        descriptions, date ranges, and time limitations.

        a. Accounting records, source documents, and engagement letters
           from 2014–2018 that reference, indicate, or discuss any
           undisclosed, false, or otherwise inaccurate information about
           President Trump’s or a Trump entity’s reported assets, liabilities,
           or income.

               i. “Reported” means assets, liabilities, or income disclosed on,
                  required to be disclosed on, or concerning either (a) President
                  Trump’s OGE Form 278e for 2015, 2016, 2017, or 2018; or (b)
                  the Trump Organization’s voluntary payments to the Department
                  of the Treasury from 2017-2018 (together, “the Reports”). The
                  narrowed subpoena does not cover documents concerning
                  inaccuracies on any other forms or disclosures (to the extent that
                  they are not responsive to another request).

              ii. This category also includes any documents that reference,
                  indicate, or discuss any undisclosed, false, or otherwise inaccurate
                  information about President Trump’s or a Trump entity’s
                  reported assets, liabilities, or income, even if these documents do
                  not themselves reference the Reports (e.g., if inaccurate
                  information regarding the value of one of President Trump’s
                  liabilities is reported on an OGE form, then all documents
                  regarding that inaccurate information would be included, even if
                  they do not specifically refer to the OGE form).

              iii. Mazars must review the documents and produce only the
                   responsive documents from 2014-2018 that “reference, indicate,
                   or discuss any undisclosed, false, or otherwise inaccurate
                   information.” It cannot, for example, just produce documents in
                   its possession and leave it to the Committee to determine what (if
                   anything) is inaccurate.

              iv. Mazars can use all available information, including all documents
                  in its possession and publicly available records, to determine
                  whether records “reference, indicate, or discuss any undisclosed,
                  false, or otherwise inaccurate information,” although it is not
                  required to undertake any new audit, accounting, or analysis.

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           Mazars may, but is not required to, consult counsel for the
           Plaintiffs and/or the Committee, as described in Paragraph II.

        v. For purposes of this request, documents are from 2014-2018 if
           they pertain to financial information for those years, including
           valuations or other information Mazars prepared or compiled for
           those years. Documents concerning work done for prior or later
           years are not responsive to this request.

  b. Associated communications from 2014–2018 related to potential
     concerns that information provided in the Reports was incomplete,
     inaccurate, or otherwise unsatisfactory.

         i. “Associated” means the communications must concern the
            preparation, compilation, review, or auditing of the documents or
            information produced in response to category a (“Accounting
            records, source documents, and engagement letters from 2014–
            2018 that reference, indicate, or discuss any undisclosed, false, or
            otherwise inaccurate information about President Trump’s or a
            Trump entity’s reported assets, liabilities, or income”). This
            category is not a free-floating request for communications about
            any inaccuracies on any other forms or disclosures in the covered
            period.

  c. All requested documents from November 2016–2018 belonging to
     Trump Old Post Office LLC.

         i. For purposes of this request, documents are responsive only to the
            extent they belong to Trump Old Post Office LLC and were
            received, created, dated, or sent during the period November 1,
            2016, to December 31, 2018.

  d. All documents from November 2016–2018 referencing, indicating,
     discussing, or otherwise relating to, the Old Post Office lease.

         i. For purposes of this request, documents are responsive only to the
            extent they refer, indicate, discuss, or otherwise relate to the lease
            and were received, created, dated, or sent during the period
            November 1, 2016, to December 31, 2018.




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  e. All documents from 2017–2018 related to financial relationships,
     transactions, or ties between President Trump or a Trump entity
     and any foreign state or foreign state agency, the United States, any
     federal agency, any state or any state agency, or an individual
     government official.

         i. The payment of taxes or fees to the IRS or other state, local, or
            foreign tax authorities by Trump or Trump entities shall not, by
            itself, constitute “financial relationships, transactions, or ties” for
            purposes of this category.

        ii. Mazars must review the documents and produce only responsive
            documents (including by making necessary redactions, where such
            redactions are limited to non-responsive information, meaning they
            are unrelated to the responsive information contained in the
            document and are not necessary context to understand the
            responsive information contained in the document) that reflect
            “financial relationships, transactions, or ties” with “any foreign
            state or foreign state agency, the United States, any federal agency,
            any state or any state agency, or an individual government official.”

        iii. Mazars cannot produce information about “relationships,
             transactions, or ties” between Plaintiffs and purely private
             individuals or entities—unless Mazars has a reasonable belief that
             a private individual or entity was acting for or on behalf of “any
             foreign state or foreign state agency, the United States, any federal
             agency, any state or any state agency, or an individual government
             official.”

        iv. To assist Mazars in identifying responsive transactions,
            relationships, or ties, the Committee may give (subject to paragraph
            II(e)) Mazars lists of known foreign and domestic officials that
            Mazars can then use to search for and produce specific documents.
            However, the Committee’s ability to provide such information shall
            not in any way reduce Mazars’ duty to identify and produce
            information that falls within this or any other category.

        v. Mazars may also use reliable proxies for government officials—for
           example, a guest at the hotel was charged the “government rate” or
           who is known or reasonably suspected to be acting for or on behalf
           of “any foreign state or foreign state agency, the United States, any

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              federal agency, any state or any state agency, or an individual
              government official.” Mazars shall exercise additional care and
              diligence in making this assessment where a guest has known ties
              to any jurisdiction identified as a Major Money Laundering Country
              in the March 2017 Money Laundering and Financial Crimes
              Volume of the International Narcotics Control Strategy Report of
              the United States Department of State.

          vi. For purposes of this request, documents are responsive only to the
              extent they were received, created, dated, or sent during the time
              period of January 20, 2017, to December 31, 2018.


For the Plaintiffs:

____________________________
Patrick Strawbridge, Counsel

Date: ________________


For the Committee:

____________________________
Douglas Letter, Counsel

Date: ________________



For Mazars USA, LLP

____________________________
Counsel

Date: ________________




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              federal agency, any state or any state agency, or an individual
              government official.” Mazars shall exercise additional care and
              diligence in making this assessment where a guest has known ties
              to any jurisdiction identified as a Major Money Laundering Country
              in the March 2017 Money Laundering and Financial Crimes
              Volume of the International Narcotics Control Strategy Report of
              the United States Department of State.

          vi. For purposes of this request, documents are responsive only to the
              extent they were received, created, dated, or sent during the time
              period of January 20, 2017, to December 31, 2018.


For the Plaintiffs:

____________________________
Patrick Strawbridge, Counsel

       August 30, 2022
Date: ________________


For the Committee:

____________________________
Douglas Letter, Counsel

Date: ________________



For Mazars USA, LLP

____________________________
Counsel

Date: ________________




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              federal agency, any state or any state agency, or an individual
              government official.” Mazars shall exercise additional care and
              diligence in making this assessment where a guest has known ties
              to any jurisdiction identified as a Major Money Laundering Country
              in the March 2017 Money Laundering and Financial Crimes
              Volume of the International Narcotics Control Strategy Report of
              the United States Department of State.

          vi. For purposes of this request, documents are responsive only to the
              extent they were received, created, dated, or sent during the time
              period of January 20, 2017, to December 31, 2018.


For the Plaintiffs:

____________________________
Patrick Strawbridge, Counsel

Date: ________________


For the Committee:

____________________________
Douglas Letter, Counsel

Date: August 29, 2022



For Mazars USA, LLP

____________________________
Counsel

Date: ________________




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